Case 6:22-cv-01337-WWB-EJK Document 1-3 Filed 07/28/22 Page 1 of 1 PagelD 23

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Middle District of Florida [¥]

JOSHUA CACHO

Plaintiffs)
Vv.
INSURANCE SUPERMARKET INC., a

Delaware Corporation, and EMC NATIONAL
LIFE COMPANY, an lowa Corporation

Civil Action No.

Nee Nee Nee Nee Nee Se ee ee” ee ee Ne”

Defendant(s)

SUMMONS IN A CIVIL ACTION

EMC National Life Company

c/o registered agent Chief Financial Officer
200 E. Gaines Street

Tallahassee, Florida 32399

To: (Defendant's name and address)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: Joshua Cacho

Plaintiff, Pro Se

164 Estella Road

Lake Mary, Florida 32746
407-577-3881

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date: 07/27/2022

Signature of Clerk or Deputy Clerk
